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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES – GENERAL

       The Government alleges that on October 15, 2019, Mr. Le shot and killed Tri Dao while on a
boat off the coast of Orange County and threw his body into the Pacific Ocean. Id. at 2. Defendants Le
and Ritze are alleged to have left with Tri Dao on a fishing trip from Dana Point, California, on
October 14, 2019. Compl. at 4. Tri Dao’s body was found by the Coast Guard on October 16, 2019. Id.

       The Defense represents that Mr. Le will testify that he acted in self-defense after Tri Dao
assaulted him with a revolver. MIL at 4.

       Rule 401 of the Federal Rules of Evidence provides that “[e]vidence is relevant if: (a) it has any
tendency to make a fact more or less probable than it would be without the evidence; and (b) the fact is
of consequence in determining the action.” Fed. R. Evid. 401.

       The Defense seeks to admit Mr. Le’s testimony that Tri Dao assaulted him with a revolver
immediately prior to Mr. Le’s acts that contributed to Tri Dao’s death. MIL at 2. The government has
no objection to Defendant personally testifying as to these facts. Government’s Opposition to MIL
(“Opp’n”) at 1 (Dkt. 252). The Court will admit this evidence given the relevance of Mr. Le’s
testimony for his reasonable belief that use of force was necessary to defend himself. See United States
v. Morsette, 622 F.3d 1200, 1201-02 (9th Cir. 2020). Defendant always has the right to testify to his
account of the events that led to the incident in question.

       The Court will also admit Mr. Le’s testimony on Tri Dao’s previous assault on him in 2019
because it similarly weighs on Mr. Le’s reasonable fear of Tri Dao on the night in question. See United
States v. Garcia, 729 F.3d 1171, 1178-79 (9th Cir. 2013) (district court abused discretion by excluding
evidence of alleged victim’s prior acts to prove defendant’s state of mind); United States v. James, 169
F.3d 1210, 1214-15 (9th Cir. 1999) (en banc) (extrinsic evidence of victim’s prior acts of violence
admissible to show defendant’s state of mind); United States v. Saenz, 179 F.3d 686, 689 (9th Cir.
1999) (defendant’s knowledge of alleged victim’s prior acts of violence relevant to self defense).

       Evidence of a person’s habit is admissible to prove that on a particular occasion the person acted
in accordance with the habit regardless of whether the evidence is corroborated or whether there was an
eyewitness. Fed. R. Evid. 406. In deciding whether certain conduct constitutes habit, courts consider
three factors: (1) the degree to which the conduct is reflexive or semi-automatic as opposed to
volitional; (2) the specificity or particularity of the conduct; and (3) the regularity or numerosity of the
examples of the conduct. United States v. Angwin, 263 F.3d 979, 991–92 (9th Cir. 2001).




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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES – GENERAL

       Here, Defense seeks to admit testimony from Trung Dao and Natalie Nguyen, Tri Dao’s
common law wife, that victim Tri Dao had a habit of carrying gun. This evidence is relevant in so far
as it makes it more probable than not that Tri Dao possessed a gun at the time of the events in question
and that Mr. Le had reason to fear Tri Dao. The Defense represents to the Court that they would elicit
testimony from Trung Dao that victim Tri Dao “always carried a gun” and similar testimony from
Natalie Nguyen. MIL at 6. These representations are particularly significant given that they are coming
from the victim’s brother and common law wife. As such, these representations reflect systematic
conduct. See Mathes v. The Clipper Fleet, 774 F.2d 980, 984 (9th Cir. 1985). The Court will admit
testimony from Trung Dao and Natalie Nguyen on Tri Dao’s habit of carrying a gun.

       Testimony of Natalie Nguyen and Ha Tran, Natalie’s mother, that Tri Dao possessed a revolver
in 2016 is relevant to corroborate Defendant’s testimony that the victim assaulted him with a revolver
and that the bullet recovered from Tri Dao’s shoulder came from his gun. Cf. United States v. Dorsey,
677 F.3d 944, 951-52 (9th Cir. 2012) (evidence that individual previously possessed type of gun
consistent with gun used in crime is admissible to prove that individual had means to commit shooting
and was shooter). Moreover, the government does not object to testimony from “[Natalie] Nguyen that
the victim had possessed a firearm but she had not seen [a firearm] on the victim for a while, assuming
that corroborates defendant Le’s testimony related to his fear of the victim.” Government’s Tri Dao
Opp’n at 9. As such, the Court will allow the testimony on the victim’s possession of a revolver in
2016.

       Defense also seeks to admit testimony of Natalie Nguyen and Ha Tran about Tri Dao’s alleged
assault of Nguyen in 2016. Testimony on the alleged assault itself would only be admissible if Defense
was able to lay foundation that Defendant had knowledge of the alleged assault and that the knowledge
contributed to his reasonable fear of Tri Dao. Thus, the Court will wait to make its ruling until Defense
lays this necessary foundation in trial.

       Evidence of Tri Dao’s prior arrests and convictions for illegal possession of guns are not
admissible unless Defendant lays the adequate foundation that he had knowledge of such convictions at
the time at which he decided to use force in self-defense. See United States v. James, 169 F.3d 1210,
1213 (9th Cir. 1999) (Defendant permitted to testify about knowledge about the victim’s prior violent
misconduct but could not introduce extrinsic evidence of which they had no knowledge at that time).
The Court will wait to make its ruling until the Defense lays foundation that Mr. Le had knowledge of
these prior convictions on the night of the alleged murder.




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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                CRIMINAL MINUTES – GENERAL

       The Court GRANTS IN PART the MIL with respect to Defendant’s testimony that Tri Dao
assaulted him on the night of the alleged murder; Defendant’s testimony on Tri Dao’s previous assault
on him in 2019; testimony of Trung Dao and Natalie Nguyen that Tri Dao had a habit of carrying a
gun; and testimony of Natalie Nguyen and Ha Tran that Tri Dao possessed a revolver in 2016.

       The Court HOLDS IN ABEYANCE UNTIL TRIAL the MIL with respect to testimony from
Natalie Nguyen and Ha Tran about the alleged assault in 2016 and evidence of Tri Dao’s prior arrests
and convictions.




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